      Case 2:22-cv-00205-GGG-DMD Document 22 Filed 06/07/22 Page 1 of 5




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 IN RE HEDRON HOLDINGS, LLC, AS                                               CIVIL ACTION
 OWNER, AND TRITON DIVING
 SERVICES, LLC AS BAREBOAT                                                          NO. 22-205
 CHARTERER AND OWNER PRO HAC
 VICE OF D/B EPIC HEDRON                                                     SECTION “T” (3)
 PETITIONING FOR EXONERATION
 FROM AND/OR LIMITATION OF
 LIABILITY

                                   ORDER AND REASONS

       Before the Court is a Motion for Leave to File an Answer and Claim Beyond the Deadline

(Rec. Doc. No. 18), filed by claimants, Energy XXI GOM, LLC, EPL Oil & Gas, LLC and Arena

Energy, LLC (“Claimants”). Petitioners have contacted the Court to state they have no opposition

to the instant motion. Having considered the applicable law and brief filed by the Claimants, the

Court rules as follows.

       I. BACKGROUND

       This case was filed on January 28, 2022, as a cause of exoneration from or limitation of

liability as to Hedron Holdings, LLC, and Triton Diving Services, LLC, (“Petitioners”) as bareboat

charterer and owner pro hac vice of the Derrick Barge EPIC HEDRON (“HEDRON” or “the

Vessel”). (Rec. Doc. No. 1). Prior to the incident that is the subject of these proceedings, the

HEDRON was on charter to Talos Production, Inc., for an offshore decommissioning project. Id.

at 3. On August 26, 2021, the HEDRON raised its anchors and began to travel under tow from

offshore platform SS198G to Port Fourchon, where it sought safe harbor to pass the effects of

Hurricane Ida. Id. The Vessel moored at Port Fourchon on the afternoon of August 27, 2021 and

prepared for the approaching storm. Id. Persons aboard the HEDRON were given the option to


                                                1
       Case 2:22-cv-00205-GGG-DMD Document 22 Filed 06/07/22 Page 2 of 5




stay onboard or leave the vessel and evacuate the area. Id.

         On August 29, 2021, the HEDRON remained moored at the Triton Fourchon Marine Base

in Port Fourchon, Louisiana, but starting at 10:30 a.m., the HEDRON began to break free from the

mooring under the hurricane-force winds and tidal surge from the northeast. Id. A tug attempted

to assist the HEDRON, but was unsuccessful, and the Vessel drifted into Bayou Lafourche and

through the jetties before the storm anchor could be deployed. Id. After the storm anchor was

deployed, the Vessel came to a stop in South Timbalier Block 21 and remained secured thereafter

until September 11, 2021, while it underwent repairs before moving to another platform. Id. at 3-

4.

         Claimants filed the instant motion on May 12, 2022, seeking leave to file an answer and

claim beyond the March 17, 2022 deadline in the Order Approving Letters of Undertaking,

Directing Issuance of Notice, and Restraining Prosecution of Claims. 1 (Rec. Doc. No. 3).

Claimants allege that on August 29, 2021, they sustained property damage to oil and gas pipelines

that they own and/or use on the Gulf of Mexico Outer Continental Shelf. Id. at 1. After

investigating the damage to the pipelines, Claimants allege that they became aware of facts that

suggest the damage may be related to the unmooring of the HEDRON during Hurricane Ida. Id. at

1-2.

         Petitioners mailed notice of the limitation action to seventeen parties they identified as

having claims related to the incident at issue, and published notice in the Times Picayune/New


1
  “(4) A notice shall be issued by the Clerk of this Court to all persons asserting claims with respect to which the
Verified Complaint seeks limitation, admonishing them to file their respective claims with the Clerk of this Court in
writing, and to serve on the attorneys for the Petitioners a copy thereof on or before the 17th day of March, 2022,
or be defaulted, and that if any claimant desires to contest either the right to exoneration from, or the right to
limitation of, liability, the claimant shall file and serve on attorneys for Petitioners an answer to the Verified
Complaint on or before the said date, unless his claim has included an answer to the Verified Complaint, so
designated, or be permanently defaulted.” (Rec. Doc. No. 3, p. 3) (emphasis in original).
                                                          2
      Case 2:22-cv-00205-GGG-DMD Document 22 Filed 06/07/22 Page 3 of 5




Orleans Advocate on February 11, 2022, February 18, 2022, February 25, 2022, March 4, 2022,

and March 11, 2022. (Rec. Doc. No. 18-1, p. 2). Claimants contend that they were not identified

as claimants in the complaint, nor did they receive actual notice of the proceeding from Petitioners.

Id. Claimants contend that they learned of the matter on May 10, 2022 and acted promptly to file

their claims. Id. at 3.

        The Scheduling Order sets a discovery deadline of January 9, 2023, and a trial date of

March 13, 2023. (Rec. Doc. No. 17). On June 1, 2022, Petitioners filed a Motion for Default

Judgment (Rec. Doc. No. 21) for entry of default against any and all parties who have not yet

sought to file a claim in these proceedings. In this motion, Petitioners state that “one additional

claim (Doc. 18) was filed thereafter and is unopposed for reasons specific to that claim.” (Rec.

Doc. No. 21, p. 1).

        II. LAW AND ANALYSIS

        Supplemental Admiralty Rule F(4) provides that the Court may “enlarge the time within

which claims may be filed” for “cause shown.” Crescent Towing & Salvage v. M/V Jalma Topic,

Civ. A. No. 21-1331, 2021 WL 5919505, at *1 (E.D. La. Dec. 15, 2021). The Fifth Circuit has

held that courts should consider the following factors when determining whether such cause exists:

“(1) whether the proceeding is pending and undetermined; (2) whether granting the motion will

adversely affect the rights of the parties; and (3) the claimant’s reason for filing late.” Golnoy

Barge Co. v. M/T SHINOUSSA, 980 F.2d 349, 351 (5th Cir. 1993). “[R]elief from a tardy claim is

not a matter of right. It depends on an equitable showing.” Id. (quoting Texas Gulf Sulphur Co. v.

Blue Stack Towing Co., 313 F.2d 359, 363 (5th Cir. 1963)).

        The first factor weighs in favor of allowing the late claim as the proceeding is pending and


                                                 3
      Case 2:22-cv-00205-GGG-DMD Document 22 Filed 06/07/22 Page 4 of 5




no final determination has been made on any issue. In addition, discovery remains open and

ongoing with ample time remaining before the January 9, 2023 discovery deadline. Claimant

contends, and this Court agrees, that the proceeding is in its earliest stages, with a Scheduling

Order issued just days before the instant motion was filed. (Rec. Doc. No. 18-1, p. 5).

       The second factor also weighs in favor of allowing the late claim as the rights of the parties

will not be adversely affected by the addition of this claim. The claim was filed within two months

of the filing deadline, and no order of default precluding claims filed after the deadline has been

entered. Petitioners affirmatively state that they have no opposition to the instant claim. Further,

Claimants note that the “magnitude of each claim and the rights and defenses associated with each

claim are undetermined at this time… it would be premature for any of the existing claimants to

contend that their respective portion of the limitation fund might be diminished” should the motion

be granted. (Rec. Doc. No. 18-1, p. 5). As stated above, this case is in the early stages, with no

final determination of liability or allocation of fault that a new claim would disrupt.

       The third factor, the reason for late filing, also weighs in favor of allowing the late claim.

Claimants contend they did not receive actual notice of this proceeding and acted promptly, filing

the instant motion within two days of learning of this proceeding. (Rec. Doc. No. 18-1, p. 5). In

Crescent Towing, a court in this district recently determined that filing the motion for leave two

days after receiving notice of the limitation proceeding after being unaware of the limitation action

or filing deadline weighed in favor of allowing the late claim. Crescent Towing, 2021 WL

5919505, at *2. Likewise, here, the Court is satisfied with Claimants’ reasoning.

       Thus, because these proceedings are in their early stages, no prejudice will result from

allowing the claim, and Claimants acted expeditiously in filing this motion, the Court finds the


                                                  4
      Case 2:22-cv-00205-GGG-DMD Document 22 Filed 06/07/22 Page 5 of 5




balance of equities weighs in favor of allowing the filing of the late claim.

       III. CONCLUSION

       Accordingly,

       IT IS ORDERED that the Motion for Leave to File an Answer and Claim Beyond the

Deadline (Rec. Doc. No. 18) is GRANTED. The attached Answer to Complaint in Limitation and

Claim of Energy XXI GOM, LLC; EPL Oil & Gas, LLC and Arena Energy, LLC shall be filed

into the record.

       IT IS FURTHER ORDERED that the oral hearing scheduled for June 8, 2022 (Rec. Doc.

No. 20) is CANCELLED.

       New Orleans, Louisiana, this 6th day of June, 2022.


                                              _____________________________________
                                              DANA M. DOUGLAS
                                              UNITED STATES MAGISTRATE JUDGE




                                                 5
